STATE OF KANSAS

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GOVERNOR LAURA KELLY
EXECUTIVE ORDER NO. 20-25

Temporarily prohibiting mass gatherings of more than 10 people
to limit the spread of COVID-19 and rescinding Executive Order 20-18

WHEREAS, securing the health, safety, and economic well-being of residents of the State of
Kansas is this Administration’s top priority;

WHEREAS, Kansas is facing a crisis—the pandemic and public health emergency of COVID-
19—+resulting in illness, quarantines, school closures, and temporary closure of businesses
resulting in lost wages and financial hardship to Kansas citizens;

WHEREAS, the United States Departments of Health and Human Services declared a public
health emergency for COVID-19 beginning January 27, 2020, with now more than 632,000 cases
of the illness and more than 31,000 deaths as a result of the illness across the United States;

WHEREAS, the World Health Organization declared a pandemic on March 11, 2020;

WHEREAS, a State of Disaster Emergency was proclaimed for the State of Kansas on March 12,
2020;

WHEREAS, on March 13, 2020, the President of the United States declared the ongoing COVID-
19 a pandemic of sufficient severity and magnitude to warrant an emergency declaration for all
states, tribes, territories, and the District of Columbia pursuant to Section 50 | (b) of the Robert T.
Stafford Disaster Relief and Emergency Assistance Act, 42 U.S.C. § 5121-5207 (the "Stafford
Act");

WHEREAS, on March 13, 2020, the President of the United States pursuant to Sections 201 and
301 of the National Emergencies Act, 50 U.S.C. § 1601, et seq. and consistent with Section 1135
of the Social Security Act, as amended (42 U.S.C. § 1320b-5), declared a national emergency that
the COVID-19 outbreak in the United States constitutes a national emergency beginning March 1,
2020;

WHEREAS, as of this date, there have been 1,588 reported positive cases of COVID-19—
including 80 deaths—in Kansas spread among 63 counties;

WHEREAS, in order to mitigate the spread of COVID-19, on March 24, 2020, I issued Executive
Order 20-14, prohibiting mass gatherings of 10 or more people subject to certain exceptions;

WHEREAS, because the continued spread of COVID-19 requires enhanced measures to slow the
rate of spread, thereby saving lives and decreasing the significant burdens the COVID-19
pandemic is placing on our state’s health care system, I issued Executive Order 20-18;

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EO 20-25
 

WHEREAS, the provisions contained in Executive Order 20-18 are necessary to secure the safety
and protection of the civilian population through heightened limitations on occupancy of confined
or enclosed spaces; and

WHEREAS, this Administration will do whatever it can to assist Kansans in these challenging
times, including providing preventing the gathering of people into groups that could spread
COVID-19 further and frustrate attempts to avoid immediate danger to the health, safety, and
welfare of Kansans.

NOW, THEREFORE, pursuant to the authority vested in me as Governor of the State of Kansas,
including the authority granted me by K.S.A 48-924 and K.S.A 48-925, in order to slow the spread
of COVID-19 I hereby direct and order the following:

1. Effective at 12:01 p.m. on Saturday, April 18, 2020, all public or private mass gatherings,
as defined below, are prohibited in the State of Kansas.

a. The phrase "mass gathering" as used in this order means any planned or

spontaneous, public or private event or convening that will bring together or is
likely to bring together more than 10 people in a confined or enclosed space at the
same time.

This prohibition includes, but is not limited to, mass gatherings at: auditoriums,
theaters, movie theaters, museums, stadiums, arenas, conference rooms, meeting
halls, exhibition centers, taverns, health and fitness centers, recreation centers,
licensed pools, and churches or other religious facilities.

With regard to churches or other religious services or activities, this order prohibits
gatherings of more than ten congregants or parishioners in the same building or
confined or enclosed space. However, the number of individuals—such as
preachers, lay readers, choir or musical performers, or liturgists—conducting or
performing a religious service may exceed ten as long as those individuals follow
appropriate safety protocols, including maintaining a six-foot distance between
individuals and following other directives regarding social distancing, hygiene, and
other efforts to slow the spread of COVID-19.

With regard to funerals or memorial services, the 10-person prohibition of this order
does not apply to employees or military service members gathered to conduct the
service; the number of other attendees—including friends and family—must not
exceed ten.

2. The following activities or facilities, which relate to critical public health, safety, and other
infrastructure functions, are exempt from the prohibitions of this order:

EO 20-25

a. Meetings or proceedings of the Kansas Senate or Kansas House of Representatives

and their legislative committees;

 
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EO 20-25

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Operations or facilities of the United States Government;
Gathering as a family privately;
Airports;

Public, private, or charter schools for instructional purposes, for non-instructional
purposes—such as medication pickup, childcare services, providing meals—and
when operating as polling places;

Childcare locations (including those that operate within a facility that is otherwise
subject to the prohibitions of this order), residential care centers, and group
homes;

Hotels and motels, as long as the requirements listed below in subparagraph r are
followed for any food or beverage service;

Military and National Guard facilities;

Law enforcement, jail, or correctional facilities, including any facility operated by
the Department of Corrections;

Any facility being used as part of a government or community response to a natural
disaster;

Food pantries and shelter facilities, including day centers, for individuals and
families;

Detoxification centers;

Apartment or other multi-family residential buildings, except that the prohibitions
of paragraph 1 apply to any non-residential facilities, rooms, or operations in such
buildings subject to any other exceptions listed in paragraph 2;

Retail establishments where large numbers of people are present but only under the
following conditions: (1) customers and employees maintain a six-foot distance
from other individuals, and (2) the customers or employees of the retail
establishment are performing essential activities or essential functions under
Executive Order 20-163;

Hospitals, medical facilities, and pharmacies;

Long-term care and assisted living facilities, as long the facility follows all current
Department of Health Services Recommendations for Prevention of COVID-19 in
Long-Term Care Facilities and Assisted Living Facilities per the Centers for
Disease Control and Prevention;

 
 

EO 20-25

q. Senior Centers, but only for the service of carryout or delivery of meals and only
if the requirements listed below are followed:

i. Preserve social distancing of six feet between individuals; and

ii. Cease self-service of unpackaged food or beverages, such as in salad bars,
buffets, or beverage stations;

r. Restaurants and bars, but only under the following conditions:

i. The requirements of Executive Order 20-16 are still in effect and must be
met (meaning takeout or delivery service only, no dine-in service);

ii. No more than ten customers may be in the building at the same time and
those customers must maintain a six-foot distance from other individuals;

iii. The number of individuals—such as cooks or servers—operating the
facility may exceed ten as long as those individuals follow appropriate
safety protocols, including maintaining a six-foot distance between
individuals and following other directives regarding social distancing,
hygiene, and other efforts to slow the spread of COVID-19;

iv. Cease self-service of unpackaged food or beverages, such as in salad bars,
buffets, or beverage stations;

s. Retail food establishments (grocery stores, convenience stores, farmer's markets);

i. See Executive Order 20-16 for additional restrictions that apply to retail
food establishments, including KEFF 400.6.b and 400.6.c;

t. Office spaces, but only for the purpose of performing essential activities or essential
functions as described and limited by Executive Order 20-16;

u. Government service centers;

v. Manufacturing, processing, distribution, and production facilities;

w. Public transportation;

x. Utility facilities;

y. Job centers; and

z. Facilities operated by state or municipal courts.
. All public gatherings that bring together or are likely to bring together 10 or fewer people
in a single room or confined or enclosed space at the same time should:

a. Preserve social distancing of 6 feet between people, and

b. Follow all other public health recommendations issued by the Kansas Department
of Health and Environment and all local county and municipal health codes.

. This order supersedes any less restrictive order by any local health department and should
be read in conjunction with previous executive orders responding to the COVID-19
pandemic—including Executive Order 20-16. Any less restrictive provision in previous
executive orders is superseded by this order. Notwithstanding the provisions of this order
or Executive Order 20-16, local authorities shall retain whatever legal authority they
otherwise possess to restrict or prevent access to places where people may gather in
violation of this order or Executive Order 20-16.

. Lawenforcement officers enforcing this order should use their discretion and consider the
totality of the circumstances as they determine appropriate enforcement action.

. Executive Order 20-18 is rescinded and replaced by this order as of this order’s effective
date and time.

This document shall be filed with the Secretary of State as Executive Order No. 20-25. It shall
become effective at 12:01 p.m. on Saturday, April 18, 2020, and remain in force until rescinded,
until May 1, 2020, or until the statewide State of Disaster Emergency proclaimed on March 12,
2020, relating to COVID-19 expires, whichever is earlier.

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